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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

      ROBERTO ORTIZ,                    )
                                        )
         Plaintiff,                     )
                                        )
             v.                         )                     CASE NO. 1:19-CV-22601-DPG
                                        )
      EXPERIAN INFORMATION              )
      SOLUTIONS, INC., TRANS UNION LLC, )
      and AMERICAN HONDA FINANCE        )
      CORPORATION,                      )
                                        )
         Defendant.                     )
                                        )

        DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S ANSWER
                AND AFFIRMATIVE DEFENSES TO COMPLAINT

            COMES NOW Defendant Experian Information Solutions, Inc. (“Experian”), by

     and through its undersigned counsel, and answers the Complaint (“Complaint”) filed by

     Plaintiff Roberto Ortiz (“Plaintiff”) as follows:

            1.      In response to paragraph 1 of the Complaint, Experian admits that Plaintiff

     has alleged that she has brought this action pursuant to 15 U.S.C. §1681, et. seq. Experian

     states that this is a legal conclusion which is not subject to denial or admission.

            2.      In response to paragraph 2 of the Complaint, Experian admits that Plaintiff

     alleges that this Court has jurisdiction under 15 U.S.C. §1681p. Experian states that this is

     a legal conclusion which is not subject to denial or admission.

            3.      In response to paragraph 3 of the Complaint, Experian admits that Plaintiff

     has alleged venue in this judicial district is proper. Experian states that this is a legal
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     conclusion which is not subject to denial or admission. Experian denies that it committed

     or caused any wrongful acts in this district.

                                              PARTIES

            4.      In response to paragraph 4 of the Complaint, Experian is without knowledge

     or information sufficient to form a belief as to the truth of the allegations contained therein

     and, on that basis, denies, generally and specifically, each and every allegation contained

     therein.

            5.      In response to paragraph 5 of the Complaint, Experian is without knowledge

     or information sufficient to form a belief as to the truth of the allegations contained therein

     and, on that basis, denies, generally and specifically, each and every allegation contained

     therein.

            6.      In response to paragraph 6 of the Complaint, Experian admits that it is an

     Ohio corporation, with its principal place of business in Costa Mesa, California. Experian

     further admits that it is qualified to do business and does conduct business in the State of

     Florida. Experian further admits that it is a consumer reporting agency as defined by 15

     U.S.C. § 1681a(f) and, as such, issues consumer reports as defined by 15 U.S.C. § 1681a(d).

     Experian is without knowledge or information sufficient to form a belief as to the truth of

     the remaining allegations contained therein and, on that basis, denies, generally and

     specifically, each and every allegation contained therein.

            7.      In response to paragraph 7 of the Complaint, Experian admits that it is an

     Ohio corporation, with its principal place of business in Costa Mesa, California. Experian

     further admits that it is qualified to do business and does conduct business in the State of



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     Florida. Experian further admits that it is a consumer reporting agency as defined by 15

     U.S.C. § 1681a(f) and, as such, issues consumer reports as defined by 15 U.S.C. § 1681a(d).

     Experian is without knowledge or information sufficient to form a belief as to the truth of

     the remaining allegations contained therein and, on that basis, denies, generally and

     specifically, each and every allegation contained therein.

            8.      In response to paragraph 8 of the Complaint, Experian admits that it is an

     Ohio corporation, with its principal place of business in Costa Mesa, California. Experian

     further admits that it is qualified to do business and does conduct business in the State of

     Florida. Experian further admits that it is a consumer reporting agency as defined by 15

     U.S.C. § 1681a(f) and, as such, issues consumer reports as defined by 15 U.S.C. § 1681a(d).

     Experian is without knowledge or information sufficient to form a belief as to the truth of

     the remaining allegations contained therein and, on that basis, denies, generally and

     specifically, each and every allegation contained therein.

            9.      In response to paragraph 9 of the Complaint, Experian admits that it is an

     Ohio corporation, with its principal place of business in Costa Mesa, California. Experian

     further admits that it is qualified to do business and does conduct business in the State of

     Florida. Experian further admits that it is a consumer reporting agency as defined by 15

     U.S.C. § 1681a(f) and, as such, issues consumer reports as defined by 15 U.S.C. §

     1681a(d). Experian is without knowledge or information sufficient to form a belief as to

     the truth of the remaining allegations contained therein and, on that basis, denies, generally

     and specifically, each and every allegation contained therein..




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            10.     In response to paragraph 10 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            11.     In response to paragraph 11 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            12.     In response to paragraph 12 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            13.     In response to paragraph 13 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            14.     In response to paragraph 14 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            15.     In response to paragraph 15 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations



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     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            16.     In response to paragraph 16 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            17.     In response to paragraph 17 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            18.     In response to paragraph 18 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            19.     In response to paragraph 19 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

            20.     In response to paragraph 20 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            21.     In response to paragraph 21 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations



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     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            22.     In response to paragraph 22 of the Complaint, Experian denies the

     information was inaccurate and thus, denies, generally and specifically, each and every

     allegation contained therein.

            23.     In response to paragraph 23 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            24.     In response to paragraph 24 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

            25.     In response to paragraph 25 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

            26.     In response to paragraph 26 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            27.     In response to paragraph 27 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.




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            28.     In response to paragraph 28 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            29.     In response to paragraph 29 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            30.     In response to paragraph 30 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            31.     In response to paragraph 31 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

            32.     In response to paragraph 32 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.33

            33.     In response to paragraph 33 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations



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     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

             34.     In response to paragraph 34 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

             35.     In response to paragraph 35 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

             36.     In response to paragraph 36 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

                                      COUNT I -EXPERIAN
                                   VIOLATIONS OF THE FCRA

             37.     In response to Paragraph 37, Experian restates its responses to paragraphs

     1-36 as if fully set forth herein.

             38.     In response to paragraph 38 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

             39.     In response to paragraph 39 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein and all subparts.

             40.     In response to paragraph 40 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

             41.     In response to paragraph 41 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.




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                                                 COUNT II

             42.     In In response to Paragraph 42, Experian restates its responses to paragraphs

     1-36 as if fully set forth herein.

             43.     In response to paragraph 43 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

             44.     In response to paragraph 44 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

             45.     In response to paragraph 45 of the Complaint, Experian denies, generally

     and specifically, each and every allegation contained therein.

                                                  Count III

             46.     In In response to Paragraph 46, Experian restates its responses to paragraphs

     1-36 as if fully set forth herein.

             47.     In response to paragraph 47 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

             48.     In response to paragraph 48 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations

     contained therein and, on that basis, denies, generally and specifically, each and every

     allegation contained therein.

             49.     In response to paragraph 49 of the Complaint, Experian is without

     knowledge or information sufficient to form a belief as to the truth of the allegations



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      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

              50.     In response to paragraph 50 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

              51.     In response to paragraph 51 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

                                                  COUNT IV

              52.     In In response to Paragraph 52, Experian restates its responses to paragraphs

      1-36 as if fully set forth herein.

              53.     In response to paragraph 53 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

              54.     In response to paragraph 54 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.




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             55.     In response to paragraph 55 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

             56.     In response to paragraph 56 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

                                               COUNT IV

      57.    In response to Paragraph 57, Experian restates its responses to paragraphs 1-36 as

             if fully set forth herein.

             58.     In response to paragraph 58 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

             59.     In response to paragraph 59 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

             60.     In response to paragraph 60 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations




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      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

              61.     In response to paragraph 61 of the Complaint, Experian is without

      knowledge or information sufficient to form a belief as to the truth of the allegations

      contained therein and, on that basis, denies, generally and specifically, each and every

      allegation contained therein.

              Further answering each and every paragraph of the Complaint, Experian denies any

      and all allegations not specifically admitted above. Experian further denies that Plaintiff

      is entitled to any relief, including the relief requested in the “WHEREFORE” paragraphs

      of the Complaint as well as that requested under the “JURY DEMAND” paragraph of the

      Complaint.

                                      AFFIRMATIVE DEFENSES

              In further response to Plaintiff’s Complaint, Experian hereby asserts the following

      affirmative defenses, without conceding that it bears the burden of persuasion as to any of

      them.

                                  FIRST AFFIRMATIVE DEFENSE
                                      (Failure to State a Claim)

              The Complaint, and each cause of action thereof, fails to set forth facts sufficient

      to state a claim upon which relief may be granted against Experian and further fails to state

      facts sufficient to entitle Plaintiff to the relief sought, or to any other relief whatsoever from

      Experian.




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                                SECOND AFFIRMATIVE DEFENSE
                                         (Immunity)

              All claims against Experian are barred by the qualified immunity of 15 U.S.C.

      § 1681h(e).



                                 THIRD AFFIRMATIVE DEFENSE
                                  (Truth/Accuracy of Information)

              All claims against Experian are barred because all information Experian

      communicated to any third person regarding Plaintiff was true and accurate.



                               FOURTH AFFIRMATIVE DEFENSE
                                      (Indemnification)

              Experian is informed and believes and thereon alleges that any purported damages

      allegedly suffered by Plaintiff are the results of the acts or omissions of third persons over

      whom Experian had neither control nor responsibility.

                                 FIFTH AFFIRMATIVE DEFENSE
                                   (Failure to Mitigate Damages)

              Plaintiff has failed to mitigate his damages.

                                 SIXTH AFFIRMATIVE DEFENSE
                                           (Laches)

              The Complaint and each claim for relief therein are barred by laches.

                               SEVENTH AFFIRMATIVE DEFENSE
                                 (Contributory/Comparative Fault)

              Experian is informed and believes and thereon alleges that any alleged damages

      sustained by Plaintiff were, at least in part, caused by the actions of Plaintiff himself and/or



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      third parties and resulted from Plaintiff’s or third parties’ own negligence which equaled

      or exceeded any alleged negligence or wrongdoing by Experian.

                               EIGHTH AFFIRMATIVE DEFENSE
                                         (Estoppel)

             Any damages which Plaintiff may have suffered, which Experian continues to deny,

      were the direct and proximate result of the conduct of Plaintiff. Therefore, Plaintiff is

      estopped and barred from recovery of any damages.

                                NINTH AFFIRMATIVE DEFENSE
                                       (Unclean Hands)

             The Complaint, and each claim for relief therein that seeks equitable relief, are

      barred by the doctrine of unclean hands.

                               TENTH AFFIRMATIVE DEFENSE
                                     (Punitive Damages)

             The Complaint does not allege facts sufficient to rise to the level of conduct

      required to recover punitive damages, and thus all requests for punitive damages are

      improper. Plaintiff’s claims for exemplary or punitive damages violate the Due Process

      and Double Jeopardy Clauses of the Fifth Amendment and the Excessive Fines Clause of

      the Eighth Amendment.

                             ELEVENTH AFFIRMATIVE DEFENSE
                                    (Intervening Causes)

             Experian is informed and believes and thereon alleges that if Plaintiff sustained any

      of the injuries alleged in the Complaint, there was an intervening, superseding cause and/or

      causes leading to such alleged injuries and, as such, any action on the part of Experian was

      not a proximate cause of the alleged injuries.



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                              TWELFTH AFFIRMATIVE DEFENSE
                               (Right to Assert Additional Defenses)

             Experian reserves the right to assert additional affirmative defenses at such time

      and to such extent as warranted by discovery and the factual developments in this case.

             WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

             (1)    That Plaintiff take nothing by virtue of the Complaint herein and that this

                    action be dismissed in its entirety;

             (2)    For costs of suit and attorneys’ fees herein incurred; and

             (3)    For such other and further relief as the Court may deem just and proper.



      Dated: August 6, 2019

                                               Respectfully submitted,
                                               /s/ Michael A. Maugans
                                               Michael A. Maugans
                                               Florida Bar No. 107531
                                               Email: mmaugans@jonesday.com
                                               JONES DAY
                                               600 Brickell Avenue, Suite 3300
                                               Miami, FL 33131
                                               Telephone: (305) 714-9700
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                                               Counsel for Experian Information
                                               Solutions, Inc.




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                                CERTIFICATE OF SERVICE

             I hereby certify that on August 6, 2019, I electronically filed the foregoing

      document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

      document is being served this day on counsel of record via transmission of Notices of

      Electronic Filing generated by CM/ECF.


                                                       /s/ Michael A. Maugans
                                                       Michael A. Maugans




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